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                            FOR PUBLICATION

           UNITED STATES COURT OF APPEALS
                FOR THE NINTH CIRCUIT

        SKOT HECKMAN; LUIS PONCE;                    No. 23-55770
        JEANENE POPP; JACOB
        ROBERTS, on behalf of themselves           D.C. No. 2:22-cv-
        and all those similarly situated,           00047-GW-GJS

                         Plaintiffs-Appellees,
                                                       OPINION
          v.

        LIVE NATION ENTERTAINMENT,
        INC.; TICKETMASTER, LLC,

                         Defendants-Appellants.

                  Appeal from the United States District Court
                     for the Central District of California
                   George H. Wu, District Judge, Presiding

                     Argued and Submitted June 14, 2024
                            Pasadena, California

                            Filed October 28, 2024

               Before: William A. Fletcher, Morgan Christen, and
                      Lawrence VanDyke, Circuit Judges.

                          Opinion by Judge Fletcher;
                        Concurrence by Judge VanDyke
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                                  SUMMARY *


                                   Arbitration

            The panel affirmed the district court’s order denying
        defendants’ motion to compel arbitration in a putative
        antitrust class action under the Sherman Act, alleging
        anticompetitive practices in online ticket sales.
            Plaintiffs bought tickets to live entertainment promoted
        by Live Nation Entertainment, Inc., and sold through
        Ticketmaster LLC’s website. Their online ticket purchase
        agreement on the Ticketmaster website included an
        agreement to comply with Ticketmaster’s Terms of Use,
        which provided that any claim arising out of the ticket
        purchase, as well as any prior ticket purchase, would be
        decided by an arbitrator employed by a newly created entity,
        New Era ADR, using novel and unusual expedited/mass
        arbitration procedures. The district court denied defendants’
        motion to compel arbitration pursuant to the arbitration
        agreement, holding that a clause delegating to the arbitrator
        the authority to determine the validity of the arbitration
        agreement was unconscionable, both procedurally and
        substantively, under California law.
            The panel held that the delegation clause of the
        arbitration agreement, and the arbitration agreement as a
        whole, were unconscionable and unenforceable under
        California law. The panel held that the delegation clause
        was part of a contract of adhesion, and the Terms on
        Ticketmaster’s website, and the manner in which

        *
         This summary constitutes no part of the opinion of the court. It has
        been prepared by court staff for the convenience of the reader.
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        Ticketmaster bound users to those Terms, evinced an
        extreme amount of procedural unconscionability far above
        and beyond a run-of-the-mill contract-of-adhesion case. In
        addition, four features of New Era’s arbitration Rules
        supported a finding of substantial substantive
        unconscionability of the delegation clause: (1) the mass
        arbitration protocol, including the application of precedent
        from bellwether decisions to other claimants; (2) procedural
        limitations, such as the lack of a right to discovery; (3) a
        limited right of appeal; and (4) the arbitrator selection
        provisions. The panel held that the provisions of the
        arbitration agreement and New Era’s Rules that made the
        delegation clause unconscionable also served to make the
        entire agreement unconscionable, both procedurally and
        substantively. In addition, the district court did not abuse its
        discretion in declining to sever the offending provision of
        Ticketmaster’s Terms and New Era’s Rules.
            The panel held further that the application of California’s
        unconscionability law to the challenged Terms and Rules
        was not preempted by the Federal Arbitration Act because
        this application relied on generally applicable principles that
        neither disfavored arbitration nor interfered with the
        objectives of the Act.
            Finally, the panel held, as an alternate and independent
        ground, that the Federal Arbitration Act does not preempt
        California’s prohibition, under Discover Bank v. Superior
        Court, 113 P.3d 1110 (Cal. 2005), of class action waivers
        contained in contracts of adhesion in large-scale small-
        stakes consumer cases. The panel held that Ticketmaster’s
        Terms and New Era’s Rules were independently
        unconscionable under Discover Bank.
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            Concurring in the judgment, Judge VanDyke agreed
        with the majority that the panel should affirm the district
        court’s decision, but wrote that he would resolve the case by
        simply concluding that the Federal Arbitration Act does not
        apply to the type of mass arbitration contemplated by Live
        Nation’s agreements. Judge VanDyke wrote that the
        Supreme Court’s rationale in AT&T Mobility LLC v.
        Concepcion, 563 U.S. 333 (2011), holding that the Discover
        Bank rule is preempted in the context of traditional, bilateral
        arbitration agreements, did not support preemption for the
        very different sort of arbitration at issue here.


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                                OPINION

        W. FLETCHER, Circuit Judge:

            Plaintiffs-Appellees Skot Heckman, Luis Ponce, Jeanene
        Popp, and Jacob Roberts (collectively, “Plaintiffs”) brought
        a putative class action against Live Nation Entertainment,
        Inc., and Ticketmaster LLC (collectively, “Defendants”) in
        January 2022, alleging anticompetitive practices in violation
        of the Sherman Act. Live Nation is the largest concert
        promoter for major entertainment venues in the United
        States. Ticketmaster is the largest primary ticket seller for
        live events at major concert venues in the United States.
        Live Nation and Ticketmaster merged in 2010.
           Plaintiffs bought tickets to live entertainment promoted
        by Live Nation and sold through Ticketmaster’s website.
        Their online ticket purchase agreement on the Ticketmaster
        website included an agreement to comply with
        Ticketmaster’s Terms of Use (“Terms”). Ticketmaster’s
        Terms provide that any claim arising out of the ticket
        purchase, as well as any prior ticket purchase, will be
        decided by an arbitrator employed by a newly created entity,
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        New Era ADR (“New Era”), using novel and unusual
        procedures.
            The district court denied Defendants’ motion to compel
        arbitration pursuant to the arbitration agreement. It held that
        the clause delegating to the arbitrator the authority to
        determine the validity of the arbitration agreement—the
        “delegation clause”—was unconscionable under California
        law, both procedurally and substantively. Heckman v. Live
        Nation Ent., Inc., 686 F. Supp. 3d 939, 967 (C.D. Cal. 2023).
        Defendants appealed. We have jurisdiction under 9 U.S.C.
        § 16(a). Coinbase, Inc. v. Bielski, 599 U.S. 736, 739 (2023).
            We affirm. We hold that the delegation clause of the
        arbitration agreement, and the arbitration agreement as a
        whole, are unconscionable and unenforceable under
        California law. We hold further that the application of
        California’s unconscionabililty law to the facts of this case
        is not preempted by the Federal Arbitration Act (“FAA”).
        Finally, we hold, as an alternate and independent ground,
        that the FAA does not preempt California’s prohibition of
        class action waivers contained in contracts of adhesion in
        large-scale small-stakes consumer cases.
                               I. Background
            In 2011, the Supreme Court decided AT&T Mobility LLC
        v. Concepcion, 563 U.S. 333 (2011), holding that states
        cannot require companies to use class arbitration in dealing
        with individual large-scale small-stakes consumer claims.
        Id. at 346–47. For several years in the wake of Concepcion,
        plaintiff-side attorneys saw no practical way to bring large
        numbers of individual small-stakes consumer claims. See
        Epic Sys. Corp. v. Lewis, 584 U.S. 497, 550 (2018)
        (Ginsburg, J., dissenting) (“Expenses entailed in mounting
        individual claims will often far outweigh potential
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        recoveries.”). In recent years, however, plaintiff-side
        attorneys have had some success in bringing large numbers
        of parallel individual small-stakes consumer claims in
        arbitration. This case arises out of an attempt to counter this
        success.
             In Oberstein v. Live Nation Entertainment, Inc., 60 F.4th
        505 (9th Cir. 2023), a separate case from the one now before
        us, we upheld the district court’s grant of Defendants’
        motion to compel individual arbitration of claims by ticket
        purchasers. Id. at 509. However, while proceedings were
        still underway in the district court in Oberstein, Defendants
        foresaw that if their motion to compel in that case were
        granted, they would be faced with a large number of parallel
        individual claims by ticket purchasers. In anticipation of
        such claims, Defendants sought to gain in arbitration some
        of the advantages of class-wide litigation while suffering few
        of its disadvantages. They turned to New Era, a newly
        formed arbitration company.
            New Era was founded in 2020. Its stated mission is to
        provide a “critical prophylactic measure for client’s mass
        arbitration risk.” Heckman, 686 F. Supp. 3d at 962. While
        the parties dispute the extent of their collaboration, it is
        undisputed that New Era and Defendants’ attorneys, Latham
        & Watkins LLP, have shown a “remarkable degree of
        coordination” in devising a set of procedures to be followed
        when large numbers of similar consumer claims are brought
        in arbitration. Id. at 958 n.13. New Era offered a
        subscription option under which a client company pays an
        annual subscription fee. On June 21, 2021, Defendants
        executed a subscription agreement as New Era’s first
        subscriber. Later that same day, New Era published
        procedures applicable to large-scale arbitrations in consumer
        cases.
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            New Era offered two kinds of arbitration—Standard
        Arbitration and Expedited/Mass Arbitration. Standard
        Arbitration is “[g]enerally sought after for complex and/or
        more evidence intensive disputes. This product is the most
        similar to a traditional arbitration[.]” New Era Arbitration
        Rules, ¶ 1.c.ii.1 (“Rules”). Expedited/Mass Arbitration is
        “[g]enerally sought after for disputes that would benefit from
        an even more streamlined process [than Standard
        Arbitration].” Rules, ¶ 1.c.iii.1. A “Mass Arbitration” is “[a]
        specific type of expedited arbitration where there are
        Common Issues of Law and Fact among five or more cases.”
        Rules, ¶ 1.c.iii.3.a. With limited exceptions, proceedings in
        Mass Arbitrations are virtual. Id.
            On July 2, 2021, while a motion to compel arbitration
        was pending in the district court in Oberstein, Ticketmaster
        amended the Terms on its ticket sales website to require that
        any person using its website agree to arbitrate any dispute
        arising out of a ticket purchase, whenever that purchase took
        place, and to arbitrate under New Era’s Rules applicable to
        Expedited/Mass Arbitrations.
                II. Defendants’ New Terms and New Era’s
                     Expedited/Mass Arbitration Rules
            The most salient provisions of Defendants’ new Terms
        and New Era’s Rules for Expedited/Mass Arbitration are as
        follows. In this section of our opinion, we do our best to
        describe the process established by the Rules. However, we
        note at the outset that New Era’s Rules are internally
        inconsistent, poorly drafted, and riddled with typos, and that
        Live Nation’s counsel struggled to explain the Rules at oral
        argument.
            Under the new Terms of Ticketmaster’s website, a
        person using the website agrees to Expedited/Mass
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        Arbitration not only for any claim arising out of a current
        ticket purchase but also for all claims arising out of prior
        ticket purchases. Terms, § 17. Any updates to the Terms
        become “effective immediately when [Ticketmaster posts] a
        revised version of the Terms on the Site.” Heckman, 686 F.
        Supp. 3d at 954. By merely “continuing to use [the
        Ticketmaster] Site after that date, [a consumer] agrees to the
        changes.” Id. This provision is particularly disadvantageous
        to consumers because they often revisit the site in order to
        use previously purchased digital tickets. It is thus nearly
        impossible to avoid retroactive application of any changes
        Ticketmaster imposes.
            New Era’s Rules for Expedited/Mass Arbitration
        proceedings differ significantly from the rules of traditional
        arbitration fora such as Judicial Arbitration and Mediation
        Services (“JAMS”) or the American Arbitration
        Association. New Era’s Rules provide for Mass Arbitration
        whenever “more than five” cases involve common issues of
        law or fact. Rules, ¶ 6.b.ii.1; compare Rules, ¶ 1.c.iii.3.a.
        (“five or more”). The Rules purport to provide that the
        “[d]etermination of whether case(s) [sic] involve Common
        Issues of Law and Fact rests solely in the hands of the neutral
        handling the proceeding or a New Era ADR neutral.” Rules,
        ¶ 2.x.ii. But a close reading of the Rules reveals that New
        Era, and only New Era, will unilaterally make a
        determination to group, or “batch,” similar cases. Under the
        Rules’ order of operations, the arbitrator assigned to the
        batched cases cannot be determined without input from the
        lawyers representing the plaintiffs, and the lawyers
        representing the plaintiffs cannot be identified until after the
        batching decision is made. Thus, New Era will always
        unilaterally decide which cases will proceed in a batch.
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         Rules, ¶ 2.x.ii.2.    Live Nation conceded this point at
         argument.
             After cases are batched, a single arbitrator is chosen to
         decide all cases in the batch. Rules, ¶ 2.j–k. The Rules
         purport to give plaintiffs an equal say in the selection of the
         arbitrator through a rank and strike process. Rules, ¶ 2.j. In
         batched cases specifically, “the attorneys for that party (ies)
         [sic] are responsible for meeting and conferring internally
         and achieving consensus for purposes of making selections
         for the rank/strike process.” Rules, ¶ 2.j.v. While plaintiffs
         may be able to participate in the selection, New Era “may
         also otherwise replace a neutral at its sole discretion, upon
         what New Era ADR deems a legitimate request orconcern
         [sic] or upon unforeseeable circumstances.” Rules, ¶ 2.k.iv.
         The suggestion in the Rules that plaintiffs will have input
         into the selection of an arbitrator is thus undermined by the
         fact that the neutral may be replaced at New Era’s sole
         discretion.
             Three “bellwether cases” are chosen from the batched
         cases—one chosen by the plaintiffs, one by the defendant,
         and one “through a process to be determined by the
         [arbitrator].” Rules, ¶ 6.b.iii.3.b. The arbitrator’s decisions
         in these cases become “precedent” on all common issues in
         the batched cases, as well as in any later-filed cases added to
         the batch. Rules, ¶¶ 6.b.iii.5.a–b. “Only if a party can
         demonstrate that there are no Common Issues of Law and
         Fact will a case be removed from the Mass Arbitration.”
         Rules, ¶ 6.b.iii.6.c.
             Though decisions in bellwether cases are precedential,
         the arbitration hearing and award in those cases proceed
         individually and are confidential, known only to the
         particular plaintiffs, to the defendant company, and to the
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         arbitrator. Terms § 17. Decisions by the arbitrator in a
         bellwether case that favors a defendant will thus be binding
         on non-bellwether plaintiffs, who had no chance to
         participate in the arbitration and who are ignorant of the
         decision until it is invoked against them.
             A complaint before the arbitrator must set forth the
         “nature of the dispute, including applicable dates and times,
         parties involved, as well as the facts,” but complaints are
         limited to ten pages. Rules, ¶ 6.a.ii.1.a–b. There is no right
         to discovery in Expedited/Mass Arbitration proceedings.
         Rules, ¶ 2.o.ii. A party in an Expedited/Mass Arbitration
         proceeding may get discovery only by requesting an
         “upgrade” to a Standard Arbitration proceeding. The
         arbitrator “has discretion” to grant or deny such a request.
         Rules, ¶¶ 2.o.ii–iii.
             Both parties must “upload their documents,” which
         comprise all evidence and briefing, within 14 days of filing
         the complaint. Rules, ¶ 6.a.vii.2. All “[u]ploads are limited
         to the lesser of 10 total files, 25 total pages for each file or
         25MB of aggregate uncompressed uploads.”                 Rules,
         ¶ 6.a.vii.3. The arbitrator “has discretion to allow evidence
         in excess of the stated limits [on documents] as necessary to
         ensure a fundamentally fair process.” Rules, ¶ 6.a.vii.4.
             After the parties exchange documents and submit briefs,
         the arbitrator may (but need not) hold a hearing. Rules,
         ¶¶ 6.a.viii–ix. There is no separate hearing or briefing
         allowed      for threshold issues such as “arbitrability,
         governing law, [or] jurisdiction.” Rules, ¶ 6.z.ii. Those
         issues “shall be argued and decided at . . . hearings on the
         merits of the case, and not through any preliminary hearings
         or motion practice.” Rules, ¶ 6.z.ii. After a hearing, or a
         ruling that “no hearing is necessary,” the parties’ briefs on
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         their “final arguments based on the documents and initial
         arguments submitted earlier in the proceeding” are limited
         to “15K characters” (about five pages). Rules, ¶ 6.a.x.2.
             Once decisions are issued in the three bellwether cases,
         all plaintiffs batched with those bellwether plaintiffs must
         participate in a single settlement conference. It is not
         specified in the Rules, but Live Nation contended during oral
         argument that Batched Plaintiffs receive bellwether
         decisions sometime before the settlement conference. Rules,
         ¶ 6.b.iii.4.b. It is not until after the settlement conference
         that plaintiffs can finally argue for removal from the mass
         arbitration. Rules, ¶ 6.b.iii.6.a. Even then, plaintiffs are
         removed from the batch only if a they can show their case
         shares “no Common Issues of Law and Fact” with the
         bellwether cases. Rules, ¶ 6.b.iii.6.c. It is unclear how a
         batched plaintiff who did not participate in the bellwether
         case could demonstrate this, because the Rules do not
         provide access to the bellwether record for non-bellwether
         plaintiffs in the batch. Without such access, plaintiffs will
         struggle to differentiate their cases from the bellwethers.
         Notably, this lack of access is asymmetrical: the defendant
         will always have access to the record as a party to bellwether
         cases.
             These hurdles are even greater for later-filed cases that
         are added to the batch. At oral argument, Live Nation
         contended that later-filing plaintiffs will receive bellwether
         decisions after they file. However, the Rules do not state
         when plaintiffs with later-filed cases will receive the
         bellwether decisions. Rules, ¶ 6.b.iii.4.b. No provision is
         made in the Rules for later-filing plaintiffs to receive the
         associated briefing or discovery from the bellwether cases.
         This is particularly problematic because the records for
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         earlier-decided cases are permanently deleted 60 days after
         the end of the proceedings in those cases. Rules, ¶ 2.bb.
             An award of injunctive relief by the arbitrator may be
         appealed to a panel of arbitrators employed by JAMS, but a
         denial of injunctive relief may not be appealed. Terms, § 17.
         As a practical matter, given that injunctive relief will
         virtually always be sought by the plaintiff rather than by the
         defendant, this provision operates asymmetrically. It
         provides a right of appeal if the plaintiff’s request for an
         injunction is granted, but denies a right of appeal if the
         plaintiff’s request is denied.
                      III. Decision of the District Court
             The district court concluded that the delegation clause is
         unconscionable, both procedurally and substantively, and is
         therefore unenforceable under California state law. It
         concluded, further, that the FAA does not preempt the
         application of California law in this case. The court denied
         Defendants’ motion to compel arbitration. Heckman, 686 F.
         Supp. 3d at 969.
             The district court first determined that the delegation
         clause is procedurally unconscionable “to an extreme
         degree.” Id. at 952. The court then identified four elements
         of New Era’s model that rendered the delegation clause
         substantively unconscionable: (1) the application of
         precedent from the bellwether decisions to the claimants
         who had no opportunity to participate in, or even learn the
         content of, those decisions; (2) the lack of discovery and
         other procedural limitations; (3) the provisions governing
         the selection of arbitrators; and (4) the limited right of
         appeal. Id. at 967. The district court declined to sever the
         unconscionable provisions because “unconscionability
         permeates” the Terms and Rules. Id. at 967–68.
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                           IV. Standard of Review
             We review legal questions de novo, but “review for clear
         error any factual findings underlying the district court’s
         order.” Holley-Gallegly v. TA Operating, LLC, 74 F.4th
         997, 1000 (9th Cir. 2023). “We review a district court’s
         decision not to sever unconscionable portions of an
         arbitration agreement for abuse of discretion.” Lim v.
         TForce Logistics, LLC, 8 F.4th 992, 999 (9th Cir. 2021).
                        V. Unconscionability Analysis
             “In determining whether a valid arbitration agreement
         exists, federal courts ‘apply ordinary state-law principles
         that govern the formation of contracts.’” Nguyen v. Barnes
         & Noble Inc., 763 F.3d 1171, 1175 (9th Cir. 2014) (quoting
         First Options of Chicago, Inc. v. Kaplan, 514 U.S. 938, 944
         (1995)). Under the FAA, a court may declare an arbitration
         agreement unenforceable “upon such grounds as exist at law
         or in equity for the revocation of any contract,” 9 U.S.C. § 2,
         and may invalidate an arbitration agreement by “generally
         applicable contract defenses, such as fraud, duress, or
         unconscionability,” Concepcion, 563 U.S. at 339 (quoting
         Dr.’s Assocs., Inc. v. Casarotto, 517 U.S. 681, 687 (1996)).
               A. Unconscionability of the Delegation Clause
             The first question before us is whether the clause
         delegating to the arbitrator the authority to decide the
         validity of the arbitration agreement—the delegation
         clause—is unconscionable and therefore unenforceable. See
         Rent-A-Center, W., Inc. v. Jackson, 561 U.S. 63, 68 (2010).
         In deciding whether a delegation clause is unenforceable,
         our analysis is not limited to the bare text of the clause. “A
         party is . . . permitted under Rent-A-Center to challenge the
         enforceability of a delegation clause by explaining how
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         ‘unrelated’ provisions make the delegation unconscionable.”
         Holley-Gallegly, 74 F.4th at 1002. “In evaluating an
         unconscionability challenge to a delegation provision under
         California law, a court must be able to interpret the provision
         in the context of the agreement as a whole, which may
         require examining the underlying arbitration agreement as
         well.” Bielski v. Coinbase, Inc., 87 F.4th 1003, 1012 (9th
         Cir. 2023). A court must “consider the parts of the
         agreement that impact[] the delegation provision to decide
         its enforceability.” Id. at 1011. “[I]f a court cannot look
         through the delegation provision to the rest of the contract, a
         court would fail to see how delegating questions of
         arbitrability to an arbitrator was unconscionable.” Id. at
         1012.
             To demonstrate unconscionability of Defendants’
         delegation clause under California law, Plaintiffs must show
         that the clause is both procedurally and substantively
         unconscionable. Armendariz v. Found. Health Psychcare
         Servs., Inc., 6 P.3d 669, 690 (Cal. 2000). “[T]he more
         substantively oppressive the contract term, the less evidence
         of procedural unconscionability is required to come to the
         conclusion that the term is unenforceable, and vice versa.”
         Id. If there is “substantial procedural unconscionability . . . ,
         even a relatively low degree of substantive
         unconscionability may suffice to render the agreement
         unenforceable.” OTO, LLC v. Kho, 447 P.3d 680, 693 (Cal.
         2019).
             The delegation clause of Ticketmaster’s arbitration
         agreement provided in relevant part:

                 Delegation; Interpretation. The arbitrator,
                 and not any federal, state or local court or
                 agency, shall have exclusive authority to the
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                extent permitted by law to resolve all disputes
                arising out of or relating to the interpretation,
                applicability, enforceability, or formation of
                this Agreement, including but not limited to,
                any claim that all or any part of this
                Agreement is void or voidable . . . .

         Terms, ¶ 17.
             We conclude, as did the district court, that the delegation
         clause is both procedurally and substantively
         unconscionable.
                        1. Procedural Unconscionability
            The district court concluded that the delegation clause is
         “procedurally unconscionable to an extreme degree.”
         Heckman, 686 F. Supp. 3d at 952. We agree.
             “Unconscionability analysis begins with an inquiry into
         whether the contract is one of adhesion,” Armendariz, 6 P.3d
         at 689, defined as “a standardized contract, imposed upon
         the subscribing party without an opportunity to negotiate the
         terms,” Flores v. Transamerica HomeFirst, Inc., 113 Cal.
         Rptr. 2d 376, 381–82 (Cal. Ct. App. 2001). The parties agree
         that the delegation clause is part of a contract of adhesion.
         See Heckman, 686 F. Supp. 3d at 952 (“The agreement is
         certainly contained within a contract of adhesion . . . .”).
         Some California courts have held that in itself “[a] finding
         of a contract of adhesion is essentially a finding of
         procedural unconscionability.” Flores, 113 Cal. Rptr. 2d at
         382; Aral v. EarthLink, Inc., 36 Cal. Rptr. 3d 229, 238 (Cal.
         Ct. App. 2005); Baltazar v. Forever 21, Inc., 367 P.3d 6, 11
         (Cal. 2016); Ramirez v. Charter Commc’ns, Inc., 551 P.3d
         520, 530 (Cal. 2024). The contract between Plaintiffs and
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         Ticketmaster is much more than a mere garden variety
         contract of adhesion.
             In deciding procedural unconscionability, California
         courts “focus[] on the factors of oppression and surprise.”
         Patterson v. ITT Consumer Fin. Corp., 18 Cal. Rptr. 2d 563,
         565 (Cal. Ct. App. 1993). “Oppression arises from an
         inequality of bargaining power that results in no real
         negotiation and an absence of meaningful choice.” Flores,
         113 Cal. Rptr. at 381. Surprise is a “function of the
         disappointed reasonable expectations of the weaker party,”
         Harper v. Ultimo, 7 Cal. Rptr. 3d 418, 422 (Cal. Ct. App.
         2003), and can arise when “the supposedly agreed-upon
         terms of the bargain are hidden in a prolix printed form
         drafted by the party seeking to enforce the disputed terms,”
         Patterson, 18 Cal. Rptr. 2d at 565 (quoting A & M Produce
         Co. v. FMC Corp., 186 Cal. Rptr. 114, 122 (Cal. Ct. App.
         1982)). The elements of oppression and surprise are
         “satisfied by a finding that the arbitration provision was
         presented on a take-it-or-leave-it basis and that it was
         oppressive due to ‘an inequality of bargaining power that
         result[ed] in no real negotiation and an absence of
         meaningful choice.’” Nagrampa v. MailCoups, Inc., 469
         F.3d 1257, 1281 (9th Cir. 2006) (en banc) (quoting Flores,
         113 Cal. Rptr. 2d at 381) (alteration in original). Both
         oppression and surprise are present here.
             The district court wrote, with respect to oppression, “[I]t
         is hard to imagine a relationship with a greater power
         imbalance than that between Defendants and its consumers,
         given Defendants’ market dominance in the ticket services
         industries.” Heckman, 686 F. Supp. 3d at 952. Because
         Ticketmaster is the exclusive ticket seller for almost all live
         concerts in large venues, prospective ticket buyers in most
         instances are faced with a choice. They can either use
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         Ticketmaster’s website and accept its Terms, or refuse to use
         the website and be entirely foreclosed from purchasing
         tickets on the primary market. See Szetela v. Discover Bank,
         118 Cal. Rptr. 2d 862, 867 (Cal. Ct. App. 2002) (“The
         availability of similar goods or services elsewhere may be
         relevant to whether the contract is one of adhesion . . . .”),
         abrogated in part on other grounds by Concepcion, 563 U.S.
         333.
             We note, with respect to surprise, that Ticketmaster’s
         Terms state they may be changed without notice and changes
         apply retroactively. Ticketmaster changed the Terms on its
         website on July 2, 2021, requiring all website users to agree
         to arbitration under New Era’s Rules. Its website provides
         that a person merely browsing the website without
         purchasing a ticket agrees to Ticketmaster’s changed Terms.
         Binding consumers who merely browse a website to the
         terms specified in the website has been “consistently
         held . . . to be unenforceable, as individuals do not have
         inquiry notice.” Keebaugh v. Warner Bros. Ent. Inc., 100
         F.4th 1005, 1014 (9th Cir. 2024); see also Nguyen, 763 F.3d
         at 1177–79; Douglas v. U.S. Dist. Ct. for the Cent. Dist. of
         Cal., 495 F.3d 1062, 1066–67 (9th Cir. 2007).
             Ticketmaster’s      Terms    also    permit   unilateral
         modification of the Terms without prior notice. The Terms
         provide that Ticketmaster retains the power to “make
         changes to the Terms at any time” which would “be effective
         immediately when we post a revised version of the Terms on
         the Site.” Under California law, “oppression is even more
         onerous” when a “clause pegs both the scope and procedure
         of the arbitration to rules which might change.” Harper, 7
         Cal. Rptr. 3d at 422; see also Serpa v. Cal. Sur.
         Investigations, Inc., 155 Cal. Rptr. 3d 506, 515 (Cal. Ct.
         App. 2013).
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             The changed Terms apply not only prospectively but also
         retroactively. That is, they apply to “any dispute, claim or
         controversy . . . irrespective of when that dispute, claim, or
         controversy arose.” Heckman, 686 F. Supp. 3d at 954
         (alteration in original) (capitalization adjusted). “[A]
         customer who purchased a ticket prior to the changes to the
         [Terms] . . . could then be required to bring any dispute
         regarding that same purchase before New Era merely
         because the customer opened Defendants’ website at some
         later date (regardless of whether they had any intention of
         transacting business on that occasion).” Id. (footnote
         omitted). Indeed, customers may be required to visit the
         website again to access and use previously purchased tickets.
         Even standing alone, this provision is procedurally
         unconscionable under California law. Peleg v. Neiman
         Marcus Grp., Inc., 140 Cal. Rptr. 3d 38, 42 (Cal. Ct. App.
         2012) (“[A]n arbitration contract containing a modification
         provision is illusory if . . . a contract change[] applies to
         claims that have accrued or are known.”); see also Szetela,
         118 Cal. Rptr. 2d at 867 (holding that a take-it-or-leave-it
         amendment to terms “establishe[d] the necessary element of
         procedural unconscionability”).
             Finally, the Terms on Ticketmaster’s website are
         affirmatively misleading. For example, they specifically
         state that all claims will be resolved by “individual
         arbitration,” and not “in any purported class or
         representative proceeding.”        This statement is flatly
         inconsistent with New Era’s Rules, to which the Terms bind
         any person even browsing the site. As described above, the
         Rules contemplate that cases with common issues or facts
         will be batched, and that “batched” claims are not resolved
         by individual arbitration, but are rather treated in a “class or
         representative” fashion. The ability to request removal from
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         the batch does not arise until after the arbitration proceedings
         and settlement conference, and removal is conditioned on a
         showing of “no Common Issues of Law and Fact” with the
         bellwether cases.
             Read together with the Terms, New Era’s Rules form the
         final element of surprise. They are printed in a legible font
         and clearly linked to the Terms on Ticketmaster’s website,
         but the Rules are so dense, convoluted and internally
         contradictory to be borderline unintelligible. OTO, LLC,
         447 P.3d at 692. Given that Live Nation’s own experienced
         appellate counsel strained to explain the Rules during oral
         argument, we are left with no confidence that a reasonable
         consumer would have any hope of understanding them.
            In sum, the Terms on Ticketmaster’s website, and the
         manner in which Ticketmaster bound users to those Terms,
         “evince[]    an    extreme    amount    of    procedural
         unconscionability far above and beyond a run-of-the-mill
         contract-of-adhesion case.” Heckman, 686 F. Supp. 3d at
         953.
                       2. Substantive Unconscionability
             “Substantive unconscionability pertains to the fairness of
         an agreement’s actual terms and to assessments of whether
         they are overly harsh or one-sided.” OTO, LLC, 447 P.3d at
         690 (quoting Pinnacle Museum Tower Assn. v. Pinnacle
         Mkt. Dev. (US), LLC, 282 P.3d 1217, 1232 (Cal. 2012));
         Ramirez, 551 P.3d at 531. When there is “substantial
         procedural unconscionability . . . even a relatively low
         degree of substantive unconscionability may suffice to
         render the agreement unenforceable.” OTO, LLC, 447 P.3d
         at 693.
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             The district court held that four features of New Era’s
         Rules support a finding of substantive unconscionability of
         the delegation clause: (1) the mass arbitration protocol,
         including the application of precedent from the bellwether
         decisions to other claimants; (2) procedural limitations, such
         as the lack of a right to discovery; (3) the limited right of
         appeal; and (4) the arbitrator selection provisions.1
         Heckman, 686 F. Supp. 3d at 957. We agree.
                           a. Mass Arbitration Protocol
             “[A]bsent members [in a class] must be afforded notice,
         an opportunity to be heard, and a right to opt out of the
         class.” Concepcion, 563 U.S. at 349. This holds true in the
         arbitral context: “[A]t least this amount of process would
         presumably be required for absent parties to be bound by the
         results of arbitration” as well. Id.; Epic Systems, 584 U.S.
         at 509–10.
              If the arbitrator in the bellwether cases holds that the
         delegation clause is valid, that holding is binding on the
         plaintiffs in all of the batched non-bellwether cases. That is,
         the validity of the delegation clause in all cases is decided in
         bellwether cases, even though plaintiffs in the non-
         bellwether cases have no right to participate in the
         bellwether cases. Indeed, plaintiffs in the non-bellwether
         cases will not even know the decision in the bellwether case
         as to the validity of the delegation clause until that decision
         is invoked against them.



         1
          Because we affirm the district court’s finding that these four features
         of the delegation clause render it substantively unconscionable, we do
         not reach the issue whether plaintiffs plausibly alleged that New Era is
         biased in favor of Defendants. Heckman, 686 F. Supp. 3d at 957–58.
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             It is black-letter law that binding litigants to the rulings
         of cases in which they have no right to participate—let alone
         case of which they have no knowledge—violates basic
         principles of due process. Hansberry v. Lee, 311 U.S. 32,
         40–43 (1940). Further, although the procedures set forth in
         New Era’s Rules for Expedited/Mass Arbitrations are
         superficially similar to the familiar procedures in
         conventional class actions, they differ in critical respects. A
         batched plaintiff whose case is not a bellwether case has no
         notice of the bellwether cases and no opportunity to be heard
         in those cases. Further, that plaintiff has no guarantee of
         adequate representation in those cases and has no right to opt
         out of the batched cases that will be bound by the results in
         the bellwether cases. Compare Phillips Petrol. Co. v. Shutts,
         472 U.S. 797, 812 (1985); Richards v. Jefferson Cnty., 517
         U.S. 793, 805 (1996); Taylor v. Sturgell, 553 U.S. 880, 889–
         90 (2008).
              Recognizing the dissimilarity between New Era’s Rules
         and the rules governing conventional class actions,
         Defendants contend that the procedures provided in the
         Rules are similar to those used in federal multidistrict
         litigation (“MDL”). See 28 U.S.C. § 1407. The comparison
         is inapt, as a quick review of MDL procedures makes clear.
         The MDL statute authorizes temporary consolidation of civil
         actions that are filed in different district courts but involve
         common questions of fact. MDL cases are transferred to a
         single district court for pretrial proceedings pursuant to an
         order of a special MDL court, but they remain separate cases.
         A panel of seven Article III judges decides the fairness of
         transfers after a hearing; proceedings and judicial rulings are
         public; the court appoints adequate lead counsel to represent
         all plaintiffs; and any plaintiff has the opportunity to be
         heard. 28 U.S.C. § 1407; see Andrew Bradt, “A Radical
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         Proposal: The Multidistrict Litigation Act of 1968,” 165 U.
         PA. L. REV. 831, 842 (2017). After pretrial proceedings in
         the transferee court are completed, cases that have not settled
         are typically transferred back to their original district for
         trial.
             In their brief to us, Defendants contend that the
         arbitrator’s application of “precedent” from the bellwether
         cases is completely discretionary. It is true that the Rules
         provide that an arbitrator “may” apply the “precedent”
         created by the decisions in the bellwether cases. Rules § 2.x,
         y. However, it is obvious that anything more than an
         occasional failure to apply precedent established in the
         bellwether cases would defeat the very purpose of the mass
         arbitration protocol. Indeed, it is implausible to the point of
         near impossibility that an arbitrator, absent some compelling
         reason, would fail to apply the precedent established in the
         bellwether cases.        Defendants have not suggested a
         compelling reason—or indeed any reason—that would lead
         an arbitrator to fail to apply those precedents in a significant
         number of the batched non-bellwether cases. Further, even
         if some discretion exists as to when bellwether precedent is
         applied to non-bellwether cases, the “Rules provide no
         guidance as to how the neutral is to exercise that discretion.”
         Heckman, 686 F. Supp. 3d at 961.
             The district court concluded, with some understatement,
         “that the mass arbitration protocol creates a process that
         poses a serious risk of being fundamentally unfair to
         claimants, and therefore evinces elements of substantive
         unconscionability.” Id. at 963. We agree. New Era’s Rules
         provide to defendants many of the protections and
         advantages of a class action, but provide to non-bellwether
         plaintiffs virtually none of its protections and advantages.
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              b. Lack of Discovery and Procedural Limitations
            Under California law, an arbitral forum must provide
         “such procedures as are necessary to vindicate th[e] claim.”
         Armendariz, 6 P.3d at 761.
              New Era’s Rules are inadequate vehicles for the
         vindication of plaintiffs’ claims. To recapitulate briefly:
         There is no right to discovery. Complaints are limited to 10
         total pages and must set forth the “nature of the dispute,
         including applicable dates and times, parties involved, as
         well as the facts.” The evidentiary record and initial briefing
         is limited to 10 documents, subject to limited exceptions.
         Closing briefs are limited to 15,000 characters, or about five
         pages. Rules, ¶¶ 2.o, 6.a.vii, 6.a.x, 6.a.ii.1.a–d.
             “The denial of adequate discovery in arbitration
         proceedings leads to the de facto frustration of” statutory
         rights. Armendariz, 6 P.3d at 683; see also Fitz v. NCR
         Corp., 13 Cal. Rptr.3d 88, 96 (Cal. Ct. App. 2004).
         Discovery is often necessary to decide threshold issues such
         as the validity of the delegation clause. For example, a
         plaintiff may wish to object to the arbitrator charged with
         ruling on the validity of the delegation clause in one of the
         bellwether cases on the ground that the arbitrator is
         unqualified or improperly appointed. Such an objection
         would ordinarily require discovery as to the background and
         possible conflicts of the arbitrator. Indeed, the district court
         in this case deemed discovery necessary to fairly resolve
         such questions. And the district court evidentiary record in
         this case is several hundred pages long. Discovery included
         not only documents requested from Defendants and New
         Era, but also extensive depositions.
            New Era’s restrictions on briefing border on the absurd.
         A bellwether plaintiff would have to work a miracle to
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         successfully brief the merits of his or her claim, make any
         arbitrability arguments, and provide all evidence in only 10
         documents totaling 250 pages, and with 15,000 characters of
         “final arguments.” Rules, ¶ 2.z.ii; 6.a.vii, 6.a.x. We note for
         comparison that Defendants’ memorandum in the district
         court in support of their motion to compel arbitration—
         which exclusively addressed threshold issues of
         arbitrability—was approximately 66,000 characters.
         Plaintiffs’ opposition brief in the district court was
         approximately 63,000 characters.          On appeal to us,
         Defendants’ brief arguing the same threshold issues was
         approximately 110,000 characters, spanning 82 pages. And
         in support of its argument, Defendants’ submitted over 300
         pages of record. The briefing and record on arbitrability
         alone far exceeds the limits that would apply in a New Era
         arbitration, which apply to both arbitrability and the merits
         of a dispute.
             It is clear that the procedures specified in the Rules are
         insufficient to “vindicate” the rights of a single claimant,
         Armendariz, 6 P.3d at 761, let alone sufficient “to protect the
         nonparties’ interests” in a representative proceeding.
         Sturgell, 553 U.S. at 897.
                              c. Right of Appeal
             When evaluating substantive unconscionability,
         California courts consider “mutuality” and whether
         procedures make “[t]he odds . . . far more likely” for one
         side. Harper, 7 Cal. Rptr. 3d at 423.
             The Terms on Ticketmaster’s website provide: “[I]n the
         event that the arbitrator awards injunctive relief against
         either you or us, the party against whom injunctive relief was
         awarded may . . . appeal that decision to JAMS.” Terms
         § 17 (emphasis added). Because only plaintiffs are likely to
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         pursue injunctive relief, the right to appeal an award of
         injunctive relief to JAMS is functionally reserved for
         Defendants. “As a practical matter, the benefit which the
         [appeals] clause confers on [claimants] is nothing more than
         a chimera.” Saika v. Gold, 56 Cal. Rptr. 2d. 922, 925 (Cal.
         Ct. App. 1996). There is no right to appeal the denial of
         injunctive relief.
             Defendants contend that the California Supreme Court
         decision in Sanchez v. Valencia Holding Co., LLC, 353 P.3d
         741, 751 (Cal. 2015), allows the asymmetrical appeal
         provision.      The Court in Sanchez upheld a law
         asymmetrically providing that only arbitral grants of
         injunctive relief are subject to second arbitration. The Court
         noted that the review of an order granting injunctive relief
         furnishes a corporate defendant a “‘margin of safety’ that
         provides the party with superior bargaining strength a type
         of extra protection for which it has a legitimate commercial
         need.” Id. at 753 (quoting Armendariz, 6 P.3d at 691).
             We agree with the district court that Sanchez does not
         protect the asymmetrical appeal provision in Ticketmaster’s
         Terms. As the district court pointed out, Sanchez involved
         traditional arbitration between two individual parties, and
         the “fate of the rest of the putative class of claimants was not
         in jeopardy.” Heckman, 686 F. Supp. 3d at 965. Here,
         Ticketmaster created “much more than a ‘margin of safety’;
         they [] effectively stacked the deck so they [could] arbitrate
         thousands of claims in a single go, and if they lose, simply
         go back to JAMS to take an appeal.” Id. at 966. The denial
         of injunctive relief, however, is final for the entire batched
         class of plaintiffs.
             Defendants argue that even if the asymmetric appeal of
         injunctive relief is unconscionable, that “has nothing to do
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         with the parties’ delegation clause.” We disagree. Plaintiffs
         challenging the validity of the delegation clause may be
         seeking an injunction against the unconscionable arbitration
         provisions in the rest of the agreement. See, e.g., Morgan
         Stanley & Co., LLC v. Couch, 134 F. Supp. 3d 1215, 1219
         (E.D. Cal. 2015) (granting preliminary injunction of
         arbitration); Brooks v. AmeriHome Mortg. Co., LLC, 260
         Cal. Rptr. 3d 428, 429 (Cal. Ct. App. 2020) (same); Textile
         Unlimited, Inc. v. A..BMH & Co., 240 F.3d 781, 784 (9th
         Cir. 2001) (same). Or they may be seeking an injunction
         barring the use of a New Era arbitrator. See Heckman, 686
         F. Supp. 3d at 967 n.21. If the arbitrator denies such requests
         for injunctive relief, the Terms prohibit appeal of any of the
         arbitrator’s decisions leading to the denial, including the
         arbitrator’s threshold decision under the delegation clause
         that the parties’ dispute is arbitrable.
                   d. Procedure for Selecting the Arbitrator
             Plaintiffs challenge the procedures provided in New
         Era’s Rules for selecting the arbitrator. If the selection Rules
         are unconscionable, any decision by an arbitrator selected
         under those Rules, including a decision under the delegation
         clause, is infected by that unconscionability.
            The district court noted three ways in which it is
         undisputed that the arbitrator selection Rules are inconsistent
         with California law:

                Plaintiffs point to three features of New Era’s
                Rules that they claim violate California law:
                (1) New Era has the power to override a
                claimant’s decision to disqualify an
                arbitrator; (2) each side, rather than each
                individual party, has a right to disqualify an
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                arbitrator; and (3) a single arbitrator presides
                over several cases at one time. Defendants
                do not dispute that New Era’s Rules violate
                these state law requirements[.]

         Heckman, 686 F.3d at 964.
            Defendants did not argue in the district court, and do not
         argue here, that these Rules are consistent with the California
         Arbitration Act (“CAA”). Instead, they contend that the
         CAA is preempted by the FAA. We disagree.
             The FAA does not “reflect a congressional intent to
         occupy the entire field of arbitration.” Volt Info. Scis., Inc.
         v. Bd. of Trs., 489 U.S. 468, 477 (1989). The relevant
         provisions of the CAA do not empower courts to invalidate
         arbitration agreements; nor do they interfere with or
         otherwise burden or obstruct arbitration. Rather, they are
         procedural requirements whose stated purpose is to protect
         the interests of parties to arbitration and thereby “promote
         public confidence in the arbitration process.” Cal. R. Ct. RB
         Ethics Standards, Standard 1. They are not “an obstacle to
         the accomplishment and execution of the full purposes and
         objectives of the FAA.” Lamps Plus, Inc. v. Varela, 587
         U.S. 176, 183 (2019).
               3. Unconscionability of the Delegation Clause
             Based on the foregoing, we conclude that the delegation
         clause is procedurally unconscionable to an extreme degree
         and substantively unconscionable to a substantial degree.
         Taken in combination, this procedural and substantive
         unconscionability is fatal to the delegation clause contained
         in Ticketmaster’s Terms.
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             B. Unconscionability of the Arbitration Agreement
             Because the delegation clause is unconscionable and
         unenforceable, it falls to the district court, and to our court
         on appeal, to determine whether the arbitration agreement as
         a whole is unconscionable and unenforceable. We conclude
         that it is.
                             1. Unconscionability
             The provisions of the arbitration agreement and New
         Era’s Rules that make the delegation clause unconscionable
         also serve to make the entire agreement unconscionable,
         both procedurally and substantively. Even limiting our
         analysis to the provisions described above, it is plain that it
         would be impossible for plaintiffs to present their claims on
         equal footing to Live Nation. Forced to accept Terms that
         can be changed without notice, a plaintiff then must arbitrate
         under New Era’s opaque and unfair Rules. As explained, the
         Rules contain multiple interrelated substantive provisions
         that overtly favor defendants. Read together, the Rules and
         the Terms are so “overly harsh or one-sided,” OTO, LLC,
         447 P.3d at 690, as to unequivocally represent a “systematic
         effort to impose arbitration . . . as an inferior forum”
         designed to work to Live Nation’s advantage. Armendariz,
         6 P.3d at 697.
                                2. Severability
             Ticketmaster’s Terms contain a provision stating that in
         the event New Era cannot conduct the arbitration for any
         reason, “the arbitration will be conducted by FairClaims
         pursuant to its FastTrack Rules & Procedures,” and, failing
         that, by an alternative, mutually selected arbitration
         provider. Terms, § 17. The Terms also include a global
         severability clause providing that “if any part of the Terms
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         is determined to be illegal, invalid, or unenforceable,” then
         (a) “that part shall nevertheless be enforced to the extent
         permissible in order to effect the intent of the Terms” and
         (b) “the remaining parts shall be deemed valid and
         enforceable.” Terms, § 19.
             California law grants broad leeway to trial courts to
         remedy unconscionable contracts: “[T]he court may refuse
         to enforce the contract, or it may enforce the remainder of
         the contract without the unconscionable clause, or it may so
         limit the application of any unconscionable clause as to
         avoid any unconscionable result.” Cal. Civ. Code
         § 1670.5(a). “At the outset, a court should ask whether ‘the
         central purpose of the contract is tainted with illegality’” and
         whether “the interests of justice would be furthered” by
         severance. Ramirez, 551 P.3d at 546 (quoting Armendariz,
         6 P.3d at 696). The presence of multiple unconscionable
         clauses weighs in favor of severance. Id.; Pinela v. Neiman
         Marcus Grp., Inc., 190 Cal. Rptr. 3d 159, 183 (Cal. Ct. App.
         2015); Armendariz, 6 P.3d at 696–97. We review the
         district court’s choice for abuse of discretion. Lim, 8 F.4th
         at 999.
             The district court found that Defendants engaged in a
         “systematic effort to impose arbitration . . . as an inferior
         forum.” Armendariz, 6 P.3d at 697. The district court found,
         further, that the effects of these unconscionable provisions
         were “entirely foreseeable and intended,” and that under an
         overly generous severability policy, “companies could be
         incentivized to retain unenforceable provisions designed to
         chill customers’ vindication of their rights.” MacClelland v.
         Cellco P’ship, 609 F. Supp. 3d 1024, 1046 (N.D. Cal. 2022);
         Ramirez, 551 P.3d at 547 (“In conducting this [severability]
         analysis, the court may also consider the deterrent effect of
         each option.”); Mills v. Facility Sols. Grp., Inc., 300 Cal.
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         Rptr. 3d. 833, 859 (Cal. Ct. App. 2022). The district court
         found that unconscionability permeates all aspects of the
         arbitration agreement because “the central purpose of the
         contract” was unlawful and contrary to public interest,
         Poublon v. C.H. Robinson Co., 846 F.3d 1251, 1273 (9th Cir.
         2017), and the agreement contained multiple unconscionable
         provisions. The district court did not abuse its discretion in
         so finding and in declining to sever the offending provision
         of Ticketmaster’s Terms and New Era’s Rules.
                                C. Preemption
             The application of California’s unconscionability law to
         the Terms and Rules challenged here is not preempted by the
         FAA. Under the FAA, a court may invalidate an arbitration
         agreement pursuant to “generally applicable contract
         defenses, such as fraud, duress, or unconscionability,”
         Concepcion, 563 U.S. at 339 (quoting Dr.’s Assocs., Inc. v.
         Casarotto, 517 U.S. 681, 687 (1996)). The FAA preempts
         the application of state unconscionability law that
         “disfavors” arbitration and interferes with the FAA’s
         objectives. Id. at 342. Here, the application of California
         unconscionability law relies on generally applicable
         principles that neither disfavor arbitration nor interfere with
         the objectives of the FAA.
                      D. Unconscionability Conclusion
             For the reasons articulated above, we hold that the
         delegation clause and the arbitration agreement as a whole
         are both unconscionable under California law, and that the
         application of California’s unconscionability law is not
         preempted by the FAA.
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                   VI. Alternate and Independent Ground
             We also hold, based on an alternate and independent
         ground, that the application of California unconscionability
         law to the arbitration agreement at issue here is not
         preempted by the FAA. We agree with our concurring
         colleague that the FAA simply does not apply to and protect
         the mass arbitration model set forth in Ticketmaster’s Terms
         and New Era’s Rules. Because the FAA does not apply, the
         rule of Discover Bank v. Superior Court, 113 P.3d 1110 (Cal.
         2005), governs the case before us.
             In Discover Bank, the California Supreme Court held
         that class action waivers in consumer contracts of adhesion
         are unconscionable under California law. Id. at 1110. The
         United States Supreme Court later held in Concepcion that
         the FAA preempts any application of the Discover Bank rule
         that poses an “obstacle” to objectives of the FAA.
         Concepcion, 563 U.S. at 352.             As applied to the
         Expedited/Mass Arbitration procedures set forth in
         Ticketmaster’s Terms and New Era’s Rules, the Discover
         Bank rule poses no such obstacle, because those procedures
         do not apply to the forms of arbitration covered by the FAA.
         We therefore hold under Discover Bank that the Terms’ class
         action waiver is unconscionable and unenforceable.
             It is clear that Congress did not have class-wide
         arbitration in mind when it passed the FAA. The Supreme
         Court has told us that “class arbitration was not . . .
         envisioned by Congress when it passed the FAA in 1925.”
         Concepcion, 563 U.S. at 349; Viking River Cruises v.
         Moriana, 596 U.S. 639, 656–57 (2022); Varela, 587 U.S. at
         184 (“[I]t is important to recognize the ‘fundamental’
         difference between class arbitration and the individualized
         form of arbitration envisioned by the FAA.”). Class-wide
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         arbitration did not exist in 1925, Concepcion, 563 U.S. at
         349 (citing Discover Bank, 113 P.3d at 1110), and we should
         not read the FAA as protecting such arbitration. Rather,
         “FAA precedents treat bilateral arbitration as the prototype
         of the individualized and informal form of arbitration
         protected from undue state interference by the FAA.” Viking
         River Cruises, 596 U.S. at 656–57 (emphasis added); Epic
         Systems, 584 U.S. at 508 (FAA privileges “traditionally
         individualized” arbitration).
             The Supreme Court has consistently disparaged the use
         of aggregation in arbitration. Varela, 587 U.S. at 184;
         Concepcion, 563 U.S. at 350 (“Arbitration is poorly suited
         to the higher stakes of class litigation.”); id. at 349 (“[C]lass
         arbitration requires procedural formality.”). A switch from
         bilateral to aggregative arbitration “sacrifices the principal
         advantage of arbitration—its informality—and makes the
         process slower, more costly, and more likely to generate
         procedural morass than final judgment.” Concepcion, 563
         U.S. at 348–49; Epic Systems, 584 U.S. at 509. Even though
         some “parties may and sometimes do agree to aggregation”
         of arbitration claims, the Supreme Court has emphasized that
         such parties would not be agreeing to “arbitration as
         envisioned by the FAA.” Concepcion, 563 U.S. at 351.
             Arbitration, as understood by Congress when it enacted
         the FAA, was designed to be a fair and efficient alternative
         to bilateral judicial proceedings. It may not be too much to
         say that this method of dispute resolution contemplated by
         New Era’s Rules is “unworthy even of the name of
         arbitration.” Hooters of Am., Inc. v. Phillips, 173 F.3d 933,
         940 (4th Cir. 1999). It is certainly beyond dispute that it is
         not arbitration as envisioned by the FAA in 1925.
         Concepcion, 563 U.S. at 350. Accordingly, we hold that the
         application of California law to Ticketmaster’s Terms and
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         New Era’s Rules is not preempted by the FAA. Discover
         Bank therefore applies.
             Discover Bank held that class waivers are unenforceable
         when contained in a “consumer contract of adhesion,” when
         small damage disputes could predictably arise between the
         parties, and when the “party with the superior bargaining
         power” is alleged to have “carried out a scheme to
         deliberately cheat large numbers of consumers out of
         individually small sums of money.” Discover Bank, 113
         P.3d at 1110. As these criteria are easily met here,
         Ticketmaster’s Terms and New Era’s Rules are therefore
         independently unconscionable under Discover Bank.
                                  Conclusion
             We affirm the district court. We hold that the delegation
         clause of Defendants’ arbitration agreement with Plaintiffs
         is unconscionable, that the arbitration agreement as a whole
         is unconscionable, and that the application of California’s
         unconscionability law is not preempted by the FAA. We
         also hold, as an alternate and independent ground, that the
         FAA does not preempt California’s Discover Bank rule as it
         applies to mass arbitration.
              AFFIRMED.


         VANDYKE, Circuit Judge, concurring in the judgment:

            I agree with the majority that we should affirm the
         decision in this case. But I would resolve this case by simply
         concluding that the Federal Arbitration Act (“FAA”) just
         does not apply to the type of mass “arbitration”
         contemplated by Live Nation’s agreements.
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             In Discover Bank v. Superior Court, 113 P.3d 1100 (Cal.
         2005), the California Supreme Court held that class action
         waivers in contracts of adhesion are unconscionable. While
         the Supreme Court held that this state rule is preempted by
         the FAA in the context of traditional, bilateral arbitration
         agreements, AT&T Mobility LLC v. Concepcion, 563 U.S.
         333 (2011), the Court’s rationale in Concepcion does not
         support preemption for the very different sort of arbitration
         now before us. Nor did the district court abuse its discretion
         in declining to sever the contracts’ mass arbitration
         requirement and replace it with one of Live Nation’s backup
         schemes. Because I think this approach provides the most
         simple and direct way to resolve this case, I concur in the
         judgment.
           I. The FAA Does Not Preempt California Law in This
              Case.
             The FAA was enacted in 1925 “in response to
         widespread judicial hostility to arbitration agreements.”
         Concepcion, 563 U.S. at 339. Notably, Section 2 of the FAA
         contains a savings clause that “permits agreements to
         arbitrate to be invalidated by generally applicable contract
         defenses, such as fraud, duress, or unconscionability, but not
         by defenses that apply only to arbitration or that derive their
         meaning from the fact that an agreement to arbitrate is at
         issue.” Id. (cleaned up); see also Viking River Cruises, Inc.
         v. Moriana, 596 U.S. 639, 657 (2022) (“[Section] 2’s saving
         clause does not preserve defenses that would allow a party
         to declare that a contract is unenforceable just because it
         requires bilateral arbitration.” (cleaned up) (emphasis in
         original)).
             The Supreme Court in Concepcion held that the FAA
         preempts “state-law rules that stand as an obstacle to the
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         accomplishment of the FAA’s objectives.” 563 U.S. at 343.
         The FAA’s objective is to “ensure the enforcement of
         arbitration agreements,” which Congress in 1925 understood
         to be bilateral in nature, not collective. Id. at 344; see also
         Viking River Cruises, 596 U.S. at 656–57 (explaining that
         there are “fundamental” differences between “the norm of
         bilateral arbitration” and class-based arbitration). It was
         enforcement of a particular type of arbitration—bilateral
         arbitration with its specific advantages and attributes—that
         Congress set out to protect when it passed the FAA roughly
         one hundred years ago. Concepcion, 563 U.S. at 348; see
         also Viking River Cruises, 596 U.S. at 649.
             So a threshold issue in analyzing FAA obstacle
         preemption has to be whether the arbitration agreement
         under consideration is one that shares the attributes of
         bilateral arbitration as understood in 1925—the only form of
         arbitration conceived of by Congress at the time. See Viking
         River Cruises, 596 U.S. at 656 (“Our FAA precedents treat
         bilateral arbitration as the prototype of the individualized
         and informal form of arbitration protected from undue state
         interference by the FAA.”). Simply labeling something as
         “arbitration” does not automatically bring it within the ambit
         of the FAA’s protection. Imagine, for example, an arbitration
         clause that required the parties to resolve their disputes
         through a vigorous, winner-take-all game of ping-pong.
         Would the label “arbitration” be enough to bring that
         agreement under the FAA and protect such an “arbitration”
         agreement from state laws deeming it unconscionable? Of
         course not. The Supreme Court said as much in Viking River
         Cruises when it observed that the “right to enforce
         arbitration agreements” secured by the FAA is a protection
         only against state laws that attempt to “transform traditional
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         individualized arbitration into … litigation … at odds with
         arbitration’s informal nature.” Id. at 651 (cleaned up).
             Basic logic and the Supreme Court’s reasoning in
         Concepcion and Viking River Cruises equally support that
         there must be an outer boundary to the type of “arbitration”
         subject to FAA obstacle preemption. Inside that boundary
         are state laws that “interfere[] with fundamental attributes of
         arbitration,” which are preempted because they “create[] a
         scheme inconsistent with the FAA.” Concepcion, 563 U.S.
         at 344. But outside that boundary are agreements that, even
         if labeled “arbitration” agreements, operate under
         procedures whose attributes fundamentally differ from the
         core attributes of bilateral arbitration envisioned by the FAA.
         Viking River Cruises, 596 U.S. at 658 (noting that class and
         collective arbitration go beyond the “degree of deviation
         from bilateral norms” of “traditional arbitral practice”).
         State laws that interfere with such agreements—those that
         lack the fundamental attributes of bilateral arbitration—are
         not obstacles to accomplishing Congress’s goals in the FAA
         and are therefore not preempted.
             Understanding the limits of this boundary is key because
         the Supreme Court’s ruling in Concepcion—which held that
         the FAA preempts California’s rule in Discover Bank that
         class arbitration waivers can be unconscionable as a matter
         of law—relies entirely on obstacle preemption. 563 U.S. at
         352; see also Discover Bank, 113 P.3d at 1109–10. But the
         scope of obstacle preemption under the FAA is limited to
         state laws that frustrate Congress’s goal of protecting
         “arbitration’s traditionally individualized form.” Viking
         River Cruises, 596 U.S. at 655. So applying the reasoning
         of Concepcion to this context leads to a different result than
         it did in Concepcion, where the Court expressly
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         contemplated interference with “individual” arbitration.
         See, e.g., 563 U.S. at 350.
             What New Era calls “mass arbitration” in this case is
         certainly outside the bounds of “the norm of bilateral
         arbitration as our precedents conceive of it.” Viking River
         Cruises, 596 U.S. at 657–58 (explaining that “[o]ur
         precedents use the phrase ‘bilateral arbitration’ in opposition
         to ‘class or collective’ arbitration”). The scheme that New
         Era has created, which among other arbitration novelties
         includes “bellwether cases” and “batch proceedings,” is an
         entirely new form of dispute resolution intentionally
         designed to avoid individual, bilateral adjudication of
         claims—exactly the attributes of arbitration the Supreme
         Court in Concepcion recognized that the FAA protects.
         Supreme Court precedent thus leaves no doubt that New
         Era’s system of collective arbitration is not what Congress
         set out to protect in the FAA. Concepcion, 563 U.S. at 349
         (“[C]lass arbitration was not even envisioned by Congress
         when it passed the FAA in 1925.”); Viking River Cruises, 596
         U.S. at 655–58. Because Concepcion stands for the principle
         that state law may not create an obstacle to the FAA’s
         purpose of protecting specifically bilateral arbitration, its
         holding is simply inapplicable here. 563 U.S. at 352.
             And because New Era’s mass arbitration fundamentally
         differs from bilateral arbitration, the FAA has no preemptive
         effect in this case. As a result, California’s Discover Bank
         rule springs back to life in this context. The rule articulated
         by the California Supreme Court in that case provides that
         class action waivers found in consumer contracts are
         unconscionable as a matter of law, and therefore
         unenforceable, “when [1] the waiver is found in a consumer
         contract of adhesion in a setting in which disputes between
         the contracting parties predictably involve small amounts of
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         damages, and when [2] it is alleged that the party with the
         superior bargaining power has carried out a scheme to
         deliberately cheat large numbers of consumers out of
         individually small sums of money.” Discover Bank, 113 P.3d
         at 1110.
             Here, there is no dispute that the contracts at issue are
         contracts of adhesion. And Plaintiffs allege that Defendants,
         the party with superior bargaining power, have carried out
         this scheme in order to cheat large numbers of consumers out
         of individually small sums of money. So the class action
         waivers in this case—which run to the delegation clause by
         preventing class-wide adjudication of threshold issues—are
         unconscionable and unenforceable under California law.
             This is enough to defeat Defendants’ motion to compel
         arbitration. And because appellate courts “may affirm on
         any basis finding support in the record,” I would affirm on
         this ground without addressing the majority’s alternative
         ground. Hell’s Angels Motorcycle Corp. v. McKinley, 360
         F.3d 930, 933 (9th Cir. 2004).
          II. The District Court Did Not Abuse Its Discretion in
              Declining to Sever.
             I also agree with my panel colleagues that the district
         court did not abuse its discretion in declining to sever the
         mass arbitration clause. Lim v. TForce Logistics, LLC, 8
         F.4th 992, 999 (9th Cir. 2021) (explaining that a district
         court’s decision “not to sever unconscionable portions of an
         arbitration agreement” is reviewed for abuse of discretion).
             Under California law, district courts enjoy broad leeway
         when remedying unconscionable contracts and “may refuse
         to enforce the contract, or it may enforce the remainder of
         the contract without the unconscionable clause, or it may so
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         limit the application of any unconscionable clause as to
         avoid any unconscionable result.”             Cal. Civ. Code
         § 1670.5(a). “The overarching inquiry is whether the
         interests of justice would be furthered by severance.”
         Armendariz v. Found. Health Psychcare Servs., Inc., 6 P.3d
         669, 696 (Cal. 2000) (cleaned up); see also Ramirez v.
         Charter Commc’ns, Inc., No. S273802, 2024 WL 3405593,
         at *19 (Cal. July 15, 2024) (holding that “[e]ven if a contract
         can be cured, the court should also ask whether the
         unconscionability should be cured through severance or
         restriction because the interests of justice would be furthered
         by such actions” (emphasis in original)). And severance
         does not serve the interests of justice when an agreement is
         “permeated by unconscionability.” Lhotka v. Geographic
         Expeditions, Inc., 104 Cal. Rptr. 3d 844, 853 (Cal. Ct. App.
         2010); Ramirez, 2024 WL 3405593, at *19 (explaining that
         a contract whose “central purpose … is tainted with illegality
         … cannot be cured” by severance and so, instead, “the court
         should refuse to enforce it”).
             Finding that “unconscionability permeates the
         arbitration clause” in this case, the district court “decline[d]
         to sever the offending provisions.” California law gives
         district courts “discretion … to refuse to enforce an entire
         agreement if the agreement is ‘permeated’ by
         unconscionability,” Cal. Civ. Code § 1670.5(a), and I agree
         with the majority that Defendants have not met their burden
         of showing that this was an abuse of the district court’s
         discretion.
                                     * * *
             There is one more massive elephant in the room that cries
         out for acknowledgement. Live Nation argues that none of
         these issues should be decided by the courts, because the
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         arbitration agreements in this case contain delegation clauses
         that require issues such as unconscionability and
         enforceability to be decided by the arbitrator, not a court. I
         agree with my colleagues that Live Nation cannot avoid the
         unconscionability issue in this case, however, because it is
         well-established that even where the parties’ agreement
         delegates threshold issues to the arbitrator, it is still up to the
         courts to decide whether the delegation clause itself is
         unconscionable. Lim, 8 F.4th at 1000; see also O'Connor v.
         Uber Techs., Inc., 904 F.3d 1087, 1092 (9th Cir. 2018). And
         here, whether you take the majority’s route or mine, all the
         Plaintiffs’ arguments about unconscionability apply to the
         delegation clause in addition to the rest of the arbitration
         agreement. For example, the argument that Concepcion’s
         preemption rationale simply doesn’t apply in the mass
         arbitration context applies equally to the delegation clause,
         because under New Era’s batching and bellwether way of
         deciding cases, that issue once decided by the arbitrator in
         one of the initial arbitrations could be applied as “precedent”
         to other arbitrations in the same batch of related arbitrations.
             But what if they didn’t? What if Live Nation was right
         and only the arbitrator could address the threshold
         unconscionability and enforceability issues in this case?
         Pretend with me for a moment you are a freshly hired New
         Era arbitrator tasked with deciding the very first New Era
         “bellwether” case, which—because of the contracts’
         delegation clause—includes the novel questions of whether
         this whole mass arbitration approach is unconscionable,
         whether the FAA applies, whether Discover Bank applies,
         etc. Let’s say that after much study he reached the same
         conclusions that I have: that Concepcion’s obstacle
         preemption analysis doesn’t apply in the context of mass
         arbitration agreements, that Discover Bank therefore does
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         apply, that the arbitration agreements aren’t severable, and
         thus Live Nation’s mass arbitration clauses are
         unenforceable.
             That single arbitrator would face quite a practical
         dilemma. If the arbitrator issued that ruling, he wouldn’t just
         be dismissing the case before him. He would literally be
         ruling against his employer’s—New Era’s—entire business
         model. He would be destroying New Era, and of course his
         own job along with it. And after the dust settled from the
         nuke he just dropped on his own employer, he would know
         with absolute certainty that no other arbitration provider or
         business would ever touch him with a ten-foot pole.
             I hope that if I was that person, I would still do the right
         thing and issue the correct decision. But I know I would
         think it was enormously unfair that I was put in a situation
         involving such a massive and obvious conflict of interest.
              In addition to that certain conflict of interest, others too
         seem highly probable in this case. The district court
         observed below that Live Nation “provided nearly all of
         New Era’s revenue during its first year” and that “there
         appears to be a remarkable degree of coordination between
         [Defendants’ counsel] and New Era in terms of their
         interpretation and the evolution of New Era’s Rules.”
         Finding these facts to be “concerning,” the district court
         noted that this “could certainly create an inference of bias.”
         It seems to me that the circumstances in this case create more
         than merely an inference of bias—they create a strong and
         inescapable perception of bias.
             “[A] dispute resolution procedure is not an arbitration
         unless there is a third party decision maker.” Cheng-
         Canindin v. Renaissance Hotel Assocs., 57 Cal. Rptr. 2d 867,
         874 (Cal. Ct. App. 1996). And a third-party decision maker
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         “whose interests are so allied with those of the party” is, “for
         all practical purposes … subject to the same disabilities
         which prevent the party himself from serving.” Graham v.
         Scissor-Tail, Inc., 623 P.2d 165, 177 (Cal. 1981). That seems
         to be the case here. Not only is the line between Defendants
         and New Era blurry, but more than that, this agreement
         would require a New Era arbitrator to decide the question of
         whether their employer’s invention—developed with the
         help of the party in front of them—is a failure. If the answer
         to that question is yes, goodbye New Era and the arbitrator’s
         job as an arbitrator—with any arbitration provider, forever.
             At oral argument, Live Nation’s able counsel pointed to
         three California cases which stand for the proposition that
         “generally uncognizable is the belief that arbitrators might
         over time be biased toward the repeat players that bring them
         business.” Sandquist v. Lebo Auto., Inc., 376 P.3d 506, 522
         (Cal. 2016); see also Tiri v. Lucky Chances, Inc., 171 Cal.
         Rptr. 3rd 621, 635 (Cal. Ct. App. 2014) (holding that conflict
         issues “are virtually always present with delegation clauses”
         (emphasis in original)); Aanderud v. Superior Ct., 221 Cal.
         Rptr. 3d 225, 239 (Cal. Ct. App. 2017) (explaining that the
         fact that threshold “determinations are left to the arbitrator
         does not make the delegation clause substantively
         unconscionable”).
             Respectfully, I don’t think those cases are on all-fours
         with the exceptional pressure-cooker New Era’s arbitrator
         would find himself in if he was forced to decide what we are
         deciding today. It certainly is true that courts “may not
         presume categorically that arbitrators are ill-equipped to
         disregard such institutional incentives and rule fairly and
         equitably.” Sandquist, 376 P.3d at 522. But no presumption
         is required to see a conflict of interest here—the conflict is
         manifest. Defendants were intimately involved in the
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         creation of New Era’s system for the admitted reason that
         they were “faced with the emerging phenomenon of a single
         law firm filing thousands of virtually identical arbitration
         claims at once.” The system developed by New Era, with
         the help of Defendants, purposefully modeled its rules “after
         the bellwether approach used in federal multi-district
         litigation” to “allow the arbitrator to apply certain
         determinations from the bellwethers as ‘[p]recedent’ in the
         remaining cases.”
             The advantage this provides to Defendants is obvious,
         and it would be expecting a New Era arbitrator to exhibit a
         superhuman resistance to ordinary human incentives to issue
         a ruling that sinks New Era’s entire operation and his own
         career. This conflict faced by New Era arbitrators is not
         simply a claimed “bias[] toward the repeat players that bring
         them business.” Id. It’s an obvious and understandable bias
         everyone has towards their own continued professional
         survival.
             I don’t think that obvious conflict of interest uniquely
         presented in this case can be ignored simply because in other
         cases courts have rejected arguments about very different
         types of possible biases by arbitrators. The conflict of
         interest that would result here if we were to accept Live
         Nation’s urging to punt all these threshold questions to the
         arbitrator would be both sui generis and inevitable.
         Thankfully our resolution of this case does not require us to
         figure out what, if anything, we would need to do about that.
         But I hesitate to think the right answer would be that we do
         nothing.
            For all these reasons, I respectfully concur in the
         judgment.
